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                IN THE UNITED STATES DISTRICT COURT FOR THE

                             DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )                MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant

Christopher Scott’s (hereinafter “defendant”) request for

reconsideration based on a misinterpretation of the Fair

Sentencing Act as clarified by Congress in H.R. 6548; renewed

request for modification of sentence pursuant to 18 U.S.C.

§ 3582(c)(2) (Filing No. 1179).          Under § 3582(c)(2), defendant

seeks a reduction of his term of imprisonment as a result of the

November 1, 2010, Amendments to the United States Sentencing

Guidelines (“Sentencing Guidelines”).            Eighth Circuit precedent

forecloses defendant’s argument, and he is therefore not entitled

to the retroactive application of the November 1, 2010,

Amendments to the Sentencing Guidelines.

            On November 1, 2010, amendments to the Sentencing

Guidelines became effective to apply to all offenders sentenced

after that date.        See 18 U.S.C. § 3553(a)(4)(ii) (sentencing

courts must consider the guidelines that “are in effect on the

date the defendant is sentenced”).           Defendant now urges this
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Court to retroactively apply the amendments to his case for a

possible sentence reduction.           The Eighth Circuit has held,

however, that these amendments to the Sentencing Guidelines are

not retroactive.        See United States v. Orr, No. 09-3644, 2011 WL

722405, at *12 (8th Cir. Mar. 3, 2011) (“Thus, as we have

previously recognized, Congress expressed no desire in the

[amendments to the sentencing guidelines] that [they] be applied

retroactively, and consequently the federal Savings Statute

clearly forecloses [defendant’s] argument for retroactive

application.”)

            Accordingly, defendant’s request for reconsideration

based on a misinterpretation of the Fair Sentencing Act as

clarified by Congress in H.R. 6548; renewed request for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) will

be denied.    A separate order will be entered in accordance with

this memorandum opinion.

            DATED this 1st day of April, 2011.

                                       BY THE COURT:

                                       /s/ Lyle E. Strom
                                       ____________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
